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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: PREMERA BLUE CROSS CUSTOMER
DATA SECURITY BREACH LITIGATION                                                       MDL No. 2633


                                       TRANSFER ORDER


        Before the Panel:* Plaintiff in an action pending in the Western District of Washington
moves under 28 U.S.C. § 1407 to centralize pretrial proceedings in this litigation in the Western
District of Washington. This litigation consists of eight actions—seven actions pending in the
Western District of Washington and one action pending in the District of Oregon—as listed on
Schedule A.1

        All responding parties either support or do not oppose centralization. In addition to the
movant, defendant Premera Blue Cross (Premera) and plaintiffs in twelve actions and potential tag-
along actions support centralization in the Western District of Washington. Plaintiffs in two
potential tag-along actions, and Premera in the alternative, suggest centralization in the District of
Oregon. One plaintiff does not oppose centralization, but suggests that transfer under 28 U.S.C.
§ 1404(a) may be preferable to centralization under 28 U.S.C. § 1407.

        On the basis of the papers filed and the hearing session held, we find that these actions
involve common questions of fact, and that centralization in the District of Oregon will serve the
convenience of the parties and witnesses and promote the just and efficient conduct of this litigation.
These actions share factual questions arising from a data security breach that allegedly occurred
sometime between May 2014 and January 2015, resulting in the electronic theft of personally
identifiable information and personal health information of, by one estimate, some 11 million current
and former health insurance plan members of Premera or its affiliated health insurance companies.
Although there are relatively few related actions pending outside the Western District of
Washington, we are convinced that the benefits of centralization outweigh any disadvantages in this
instance. There are now twenty-nine related actions pending in four districts, all of which are
putative class actions, most nationwide in scope. The subject-matter of the anticipated discovery and
motion practice is likely to be complex. Centralization will eliminate duplicative discovery, prevent

       *
         Judge Lewis A. Kaplan took no part in the decision of this matter. Additionally, certain
Panel members who could be members of the putative classes in this litigation have renounced their
participation in these classes and have participated in this decision.
       1
         The Panel has been notified of 21 related actions pending in the District of Alaska, the
Middle District of Florida, the District of Oregon, and the Western District of Washington. These
and any other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1, and 7.2.
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inconsistent pretrial rulings, particularly with respect to class certification, and conserve the
resources of the parties, their counsel, and the judiciary.

         After weighing all relevant factors, we select the District of Oregon as the transferee district
for this litigation. The District of Oregon is a convenient and accessible forum for this litigation.
Two of the related actions are pending in this district, which is supported both by plaintiffs and
defendant Premera in the alternative. We are convinced that the District of Oregon has the necessary
judicial resources and expertise to manage this litigation efficiently. Finally, by appointing the
Honorable Michael H. Simon to preside over this matter, we select a jurist with the ability to steer
this litigation on an efficient and prudent course.

        IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the District of Oregon are transferred to the District of Oregon and, with the consent of that court,
assigned to the Honorable Michael H. Simon for coordinated or consolidated pretrial proceedings.


                                        PANEL ON MULTIDISTRICT LITIGATION



                                        __________________________________________
                                                       Sarah S. Vance
                                                           Chair

                                        Marjorie O. Rendell             Charles R. Breyer
                                        Ellen Segal Huvelle             R. David Proctor
                                        Catherine D. Perry
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IN RE: PREMERA BLUE CROSS CUSTOMER
DATA SECURITY BREACH LITIGATION                                     MDL No. 2633


                                 SCHEDULE A


         District of Oregon

    COLCORD v. PREMERA BLUE CROSS, C.A. No. 3:15-00516

         Western District of Washington

    CUSHNIE v. PREMERA BLUE CROSS, C.A. No. 2:15-00413
    BLACKWOLFE, ET AL. v. PREMERA BLUE CROSS, C.A. No. 2:15-00429
    GUENSER v. PREMERA BLUE CROSS, C.A. No. 2:15-00441
    HOIRUP, ET AL. v. PREMERA BLUE CROSS, C.A. No. 2:15-00445
    COSSEY, ET AL. v. PREMERA BLUE CROSS, C.A. No. 2:15-00472
    FORSETER, ET AL. v. PREMERA BLUE CROSS, C.A. No. 2:15-00499
    ARCHIBALD v. PREMERA BLUE CROSS, C.A. No. 2:15-00505
